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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 24-3027                                                September Term, 2024
                                                                    1:21-cr-00444-JEB-1
                                                       Filed On: November 20, 2024
United States of America,

              Appellee

       v.

Brian Christopher Mock,

              Appellant


       BEFORE:       Wilkins, Pan, and Garcia, Circuit Judges

                                        ORDER

       Upon consideration of the joint motion to vacate and remand, it is

      ORDERED that appellant’s conviction under 18 U.S.C. §§ 1512(c)(2) and 2 be
vacated and the case be remanded for further proceedings.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to issue the mandate forthwith to the district court.


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk
